if

al

Case 1:19-mj-01711-JMC Document3 Filed 05/29/19 Page 1 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN THE MATTER OF THE SEARCH OF:

Case No. 19 ~1 7 ] 1 JMC

H
*
Levon Verian Butts, date of birth: *
November 6, 1990 *

*

AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
1, Rebecca Tomlinson, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and
Explosives (ATF). 1 am assigned to the Office of Field Operations for the Washington Field
Division-East, located in Washington, DC. I have been employed as a Special Agent with ATF
since August 2007. I am a graduate of the Federal Law Enforcement Training Center and the ATF
National Academy, where I received training in federal firearms and narcotics laws.

2, The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

3. This affidavit is being submitted in support of an application for a search warrant
to obtain samples of deoxyribonucleic acid (DNA), to be collected from saliva and cheek cells
obtained via buccal swabs, or via blood sample, for comparison purposes from LEVON VERIAN
BUTTS, a black male, born November 11, 1990. A photograph of BUTTS is attached as
Attachment A to this affidavit. BUTTS is currently being held at the Chesapeake Detention
Center, located at 401 E Madison Street, Baltimore, MD 21202. ] seek to seize this evidence in

relation to the investigation into violations 18 U.S.C. § 1951(a) (Conspiracy to Commit Hobbs Act
 

Robbery and Hobbs Act Robbery). 19-17 11 JMG

4. The applied for warrant would authorize members of the ATF, or their authorized

representatives, including but not limited to other law enforcement agents assisting in the below
described investigation, to obtain DNA from saliva, cheek cell and/or blood samples of BUTTS.
PROBABLE CAUSE

5. On January 16, 2018, at 12:05pm, Baltimore County Police units were
dispatched to the Exxon Gas Station, located at 10540 Reisterstown Road, Owings Mills,
Maryland for an armed robbery. Upon arrival, officers located the victim of the robbery lying
on the ground in the parking lot, semi-conscious. The victim was 72 years old and was not
able to speak with officers at the scene due to significant head injuries. He was transported to

the hospital and was diagnosed with multiple skull fractures and a cerebral hemorrhage and

was in critical condition. He had no memory of the incident or the time surrounding the
incident.

6. Surveillance video from the Exxon Gas Station shows the victim leaving the
store with a bag of cash m his possession. As the victim was leaving the store, he stopped to
talk to JESSE ELDER. While speaking to ELDER, two suspects position themselves behind
vehicles in the Exxon Gas Station parking lot out of the sight of the victim. After the victim
finishes his conversation with ELDER, both suspects emerge from their positions. The
suspects immediately push the victim to the ground, causing him to hit his head. The suspects
then grabbed the bag of money and fled on foot southbound towards the parking lot of 10526
Reisterstown Road, Owings Mills, Maryland (Northwest Animal Hospital). While fleeing, a

witness attempted to trip one of the suspects who lost his black and yellow shoes and continued

running. Both suspects got into a silver Infiniti that was parked, but left running, in the parking

 
 

Case 1:19-m|- - ocumen le

19-1711 MC

lot. The suspects then drove southbound on Reisterstown Road. DNA testing was requested
on the black and yellow shoes.

7. ELDER was interviewed at the scene and told officers he got into his vehicle
and attempted to follow the suspect vehicle. ELDER was able to take a picture of the vehicle’s
tag, which revealed the tag was New York registration ANZ3339. A short time later, a hit and
run accident was dispatched in the area of Reisterstown Road and Owings Mills Boulevard
with the suspect vehicle being described as a champagne colored Infiniti bearing New York
registration ANZ3339. The occupants of the vehicle were never identified and left the scene
of the accident. ELDER provided a phone number on the witness statement form that was not
his, and then left the scene without signing the statement form. A check of databases
determined that ELDER never called 911 despite claiming to witness the incident, follow the
vehicle for several minutes, and witness the hit and run.

8. A Court Order for ELDER’s call detail records for phone number 443-207-3 799
show ELDER completed a call to a cell phone connected to BUTTS, 443-453-8749, a few
minutes after the robbery occurred. This is the only call made from the phone after the robbery.
According to the cellular data received for the number, ELDER’s phone was in the area of
Reisterstown Road in Baltimore City when he made this call and not following the getaway
vehicle. Investigators further determined that ELDER had an additional phone number, 443-
593-8147. A check of the call detail records revealed this number also had cellular mteractions
with BUTTS before and after the robbery occurred. Furthermore, according to the call detail
records and GPS data, BUTTS’ phone, 443-453-8749, was near ELDER’s residence before the
robbery, in the area of the robbery on January 16, 2018 during the incident, and fled the scene

of the robbery down Reisterstown Road and onto 795 as it was previously described.
Case 1:19-mj-01711-JMC Document 3 Filed 05/29/19 Page 4 of 6

19-1711 JME

9. On April 16, 2018, Baltimore County Police received the results of the DNA
analysis on the black and yellow shoes that were recovered from the scene of the robbery. A
DNA sample was obtained and positive CODIS hit matched the DNA sample recovered from
the black and yellow shoes to LEVON BUTTS. In order for a full DNA comparison to be
conducted, a standard must first be obtained from BUTTS. This warrants requests authority
to obtain such a sample.

10. On August 2, 2018, a federal grand jury for the District of Maryland returned an
indictment charging ELDER and BUTTS with violations of 18 U.S.C. § 1951{a) (Conspiracy to
Commit Hobbs Act Robbery and Hobbs Act Robbery) and related charges.

11. On January 30, 2019, a Baltimore County police officer conducted a traffic stop in
Gwynn Oak, Maryland on a black Honda Accord with Maryland registration 1DB9544 for having
a suspended registration. The officer made contact with the driver, later identified as BUTTS, and
BUTTS provided the officer with a Maryland Driver’s License for a Dontaye Montez Carter.
BUTTS was the sole occupant of the vehicle. During the traffic stop, BUTTS placed the vehicle
in drive and drove away at a high rate of speed. The officer followed BUTTS’ vehicle in his patrol
car. BUTTS vehicle became disabled and the officer observed BUTTS exit the vehicle and run
into a wooded area. A perimeter was established and a Baltimore County Police K-9 was deployed.
BUTTS was apprehended via K-9 bite. BUTTS advised that he fled because he knew he had
outstanding warrants and that the identification card he provided was his brother’s identification.

CONCLUSION

12. Based on information above, I respectfully submit there is probable cause to believe

that offenses in violation of 18 U.S.C. § 1951(a) (Conspiracy to Commit Hobbs Act Robbery and

Hobbs Act Robbery) were committed by LEVON VERIAN BUTTS, a black male, born November
Case 1:19-mj-01711-JMC Document3 Filed 05/29/19 Page 5 of 6

19-1711 UMC

11, 1990. There is probable cause to believe that evidence of the aforementioned criminal
violations is contained in the form of DNA in saliva, cheek cells and/or blood in the possession of
BUTTS. BUTTS is further described as being approximately 5°8” tall, weighing approximately
240 pounds, with brown eyes and black hair. A photograph of BUTTS is attached as Attachment
A to this affidavit. BUTTS is currently being held at the Chesapeake Detention Center, located at
401 E Madison Street, Baltimore, MD 21202, which is in the District of Maryland. I respectively
request that the Court issue a warrant authorizing members of the ATF, or their authorized
representatives, including but not limited to other law enforcement agents assisting in the above
described investigation, to obtain DNA samples from saliva and cheek cells obtained by buccal
swabs, or via blood sample, from BUTTS for comparison to evidence collected during the course
of this investigation, to include but not limited to, the black and yellow shoes described above in
this Affidavit.
13. | affirm under penalty of perjury that the facts and circumstances outlined in this

affidavit are true and accurate to the best of my knowledge and belief.

Respectfully submitted,

?—

Rebecca J. Tomlinson
Special Agent, Bureau of Alcohol, Tobacco, Firearms and Explosives

Subscribed and sworn to befgre me this LL day of May, 2019 eed
- * ~ 7 fo ra ; aN ED
X * ” ai
HG a ae yooe

 

THE HONORMEIE FOMARK COULSON. 5 493 a
UNITHZD STATES MAGISTRATEJUDGE We oe os
; een
Case 1:19-mj-01711-JMC Document3 Filed 05/29/19 Page 6 of 6

19-1711 uUMe

ATTACHMENT A
DESCRIPTION OF ITEMS TO BE SEARCHED AND SEIZED

A sample of deoxyribonucleic acid (“DNA”) of the following individual, to be collected via
buccal or oral swab in accordance with established procedures and to be analyzed forensically in
accordance with the applicable valid established procedures:

 

Levon Verian Butts on 0Ge° 9
Sex: Male _— y 23 ny
Race: Black Wh of cour
Date of Birth: 11/06/1990 & PIE pe
Height: 5°38” ceria’
Weight: 240 Ibs. ot o
Hair: Black

Kyes: Brown
. FBI Number: 371954CD0
State Identification Number: Maryland 2189339

 
